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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

 MAURICE MCLAIN,

                       Petitioner,

 v.                                                    CRIMINAL ACTION NO. 4:14-cr-59-4


 UNITED STATES OF AMERICA,

                       Respondent.



                           MEMORANDUM OPINION AND ORDER

        Before the Court is Maurice McLain’s (“Petitioner”) Motion to Vacate, Set Aside, or

 Correct a Sentence pursuant to Title 28, United States Code, Section 2255 (“ § 2255 Motion”).

 ECF No. 425. Having reviewed the motion and filings, the Court finds that a hearing is not

 necessary to address Petitioner’s motion. See 28 U.S.C. § 2255(b). Additionally, Petitioner’s

 second Motion for Extension of Time to Reply is DENIED. See ECF No. 443. For the reasons

 set forth below, Petitioner’s § 2255 Motion is DENIED. See ECF No. 425.

                        I. FACTUAL AND PROCEDURAL HISTORY

        From December 2003 until June 2012, Petitioner and his co-defendants were members

 and associates of a criminal organization known as Thug Relations. ECF No. 310 at 3–5.

 Members of the criminal organization engaged in acts of violence, including the murder of

 Aaron Sumler on July 5, 2007 and the shooting of B.L. on January 10, 2008. Id. The purpose of

 these shootings was to maintain the criminal organization’s control over its claimed drug turf. Id.

 On March 9, 2015, Petitioner was named in a seventeen-count Second Superseding Indictment.

 See ECF No. 15. On June 17, 2016, Petitioner was found guilty of Count 1, Racketeering

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 Conspiracy, in violation of 18 U.S.C. § 1962(d). ECF No. 286. On February 16, 2017, the Court

 sentenced Petitioner to 480 months imprisonment on Count 1, to be served concurrently with the

 60 months imposed on Count 1 of case number 4:11cr89-9, but consecutively to the 120 months

 imposed on Count 13 of case number 4:11cr89-9. ECF Nos. 358, 359. Petitioner’s conviction

 and sentence were affirmed by the United States Court of Appeals for the Fourth Circuit

 (“Fourth Circuit”) and his petition for a writ of certiorari was rejected by the United States

 Supreme Court (“Supreme Court”). ECF Nos. 396, 397, 401, 402, 407, 410.

        On November 7, 2019, Petitioner submitted his Letter Motion Requesting an Extension

 of Time to File § 2255 Motion. ECF No. 421. On November 25, 2019, the Court ordered

 Petitioner to submit his § 2255 Motion by December 23, 2019. ECF No. 423. On December 20,

 2019, Petitioner submitted his § 2255 Motion. ECF No. 425-1. On January 15, 2020 the Court

 ordered the Government to respond. ECF No. 428. On February 28, 2020, the Government

 responded in opposition to Petitioner’s § 2255 Motion. ECF No. 433. On March 13, 2020,

 Petitioner requested an extension of time to file his reply. ECF No. 437. On March 23, 2020, the

 Court granted Petitioner’s request for an extension of time to file his reply, setting a due date of

 April 23, 2020. ECF No. 439. On April 23, 2020, Petitioner requested a second extension to file

 his reply. ECF No. 443. After reviewing the filings pursuit to Petitioner’s § 2255 Motion, the

 Court has determined that a reply is not necessary. As such, this matter is ripe for disposition.

                                     II. LEGAL STANDARD

        Section 2255 allows a federal prisoner “claiming the right to be released upon the ground

 that the sentence was imposed in violation of the Constitution or laws of the United States . . .

 [to] move the court which imposed the sentence to vacate, set aside or correct the sentence.” 28

 U.S.C. § 2255. In a § 2255 motion, the petitioner bears the burden of proving his or her claim by



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 a preponderance of the evidence. See Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

 Additionally, pro se filers are entitled to more liberal construction of their pleadings. Erickson v.

 Pardus, 551 U.S. 89, 94 (2007).

        When deciding a § 2255 motion, the Court must promptly grant a hearing “unless the

 motion and the files and records of the case conclusively show that the prisoner is entitled to no

 relief.” 28 U.S.C. § 2255(b). Motions under § 2255 generally “will not be allowed to do service

 for an appeal.” Sunal v. Large, 332 U.S. 174, 178–79 (1947). For this reason, issues already fully

 litigated on direct appeal may not be raised again under the guise of a collateral attack. United

 States v. Dyess, 730 F.3d 354, 360 (4th Cir. 2013). Issues that should have been raised on direct

 appeal are deemed waived, procedurally defaulted, and cannot be raised on a § 2255 Motion.

 United States v. Mikalajunas, 186 F.3d 490, 492 (4th Cir. 1999). However, an individual may

 raise a procedurally defaulted claim if he or she can show (1) “cause and actual prejudice

 resulting from the errors of which he complains;” or (2) that “a miscarriage of justice would

 result from the refusal of the court to entertain the collateral attack. . . . [meaning] the movant

 must show actual innocence by clear and convincing evidence.” Id. at 492–93. To demonstrate

 cause and prejudice, a petitioner must show the errors “worked to [his or her] actual and

 substantial disadvantage, infecting [his or her] entire trial with error of constitutional

 dimensions.” United States v. Frady, 456 U.S. 152, 170 (1982).

                                         III. DISCUSSION

        In his § 2255 Motion, Petitioner raises three grounds for relief. Each of Petitioner’s

 contentions is without merit and will be addressed in turn.




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 A. Petitioner’s Purported Ineffective Assistance Claims Have Already Been Fully
 Considered On Appeal

            Petitioner raises the following grounds for relief related to the alleged ineffectiveness of

 his trial counsel: (1) his trial counsel was ineffective for their failure to object to improper

 opening and closing statements from the Government; and (2) his trial counsel was ineffective

 for failing to object to the sufficiency of the evidence supporting his conviction. However,

 Petitioner’s own filing demonstrates that these issues have already been considered on appeal.

            A petitioner seeking relief pursuant to § 2255 “cannot circumvent a proper ruling…on

 direct appeal by re-raising the same challenge in a § 2255 motion.” Dyess, 730 F.3d at 360

 quoting United States v. Linder, 552 F.3d 391, 396 (4th Cir. 2009); United States v. Roane, 378

 F.3d 382, 396 n. 7 (4th Cir. 2004). Further, § 2255 petitioners may not “recast, under the guise of

 collateral attack, questions fully considered…on direct appeal.” Dyess, 730 F.3d at 360 quoting

 Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir. 1976).

            In his § 2255 Motion, Petitioner represents that his claims regarding the Government’s

 opening and closing statements and the sufficiency of the evidence against him were already

 considered on appeal. 1 ECF No. 425 at 3. The Fourth Circuit’s opinion affirming Petitioner’s

 conviction and sentence confirms that these issues were raised on appeal. 2 United States v.


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     Petitioner’s § 2255 Motion makes the following statement on his previously rejected appeal:

            Grounds raised on appeal, the evidence was insufficient to sustain a conviction, and reliance on a
            single uncorroborated witness whose testimony is refuted by the physical evidence violates due
            process.

            McClain was denied due process and a fair trial by improper government opening and closing
            statements and evidence by the Court’s limiting cross-examination and defense evidence and the
            Court’s comments.

 ECF No. 425 at 3.
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   On direct appeal, the Fourth Circuit rejected McClain’s challenges to the Court’s “trial management decisions,”
 including the Court’s allowance of the Government’s opening and closing statements. United States v. McClain, 728
 F. App’x 171, 174 (4th Cir. 2018). The Fourth Circuit also made the following conclusion regarding the sufficiency

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 McClain, 728 F. App’x 171, 173, 174 (4th Cir. 2018). Further, no construction of Petitioner’s §

 2255 Motion could support a finding of cause and prejudice or actual innocence. Accordingly,

 Petitioner may not recharacterize these previously rejected contentions into unspecific arguments

 on the ineffectiveness of his trial counsel. Petitioner has not presented any cognizable claim for

 ineffective assistance of counsel independent of his past contentions on the Court’s affirmed

 allowance of the Government’s opening and closing statements and the sufficiency of the

 evidence. Accordingly, it is apparent from Petitioner’s own motion and the record of prior

 proceedings that he is not entitled to relief. Therefore, grounds one and two of his § 2255 Motion

 are without merit.

 B. Petitioner Claims Regarding the Applicability of 18 U.S.C. § 924(c) Are Irrelevant

          Petitioner claims his conviction in the instant case is not a crime of violence and cannot

 act as the underlying offense for a conviction pursuant to 18 U.S.C. § 924(c) after United States

 v. Davis, 139 S. Ct. 2319 (2019). However, Petitioner’s conviction in the instant case is for

 Racketeering Conspiracy, in violation of 18 U.S.C. § 1962(d), not a firearm violation in violation

 of 18 U.S.C. § 924(c). Because Petitioner’s third ground for relief is irrelevant to his offense of

 conviction in this case, it is denied.

 C. Petitioner’s Motion for Extension of Time to Reply

          As stated above, it is apparent from Petitioner’s own motion and the record of prior

 proceedings that he is not entitled to relief. District courts have inherent power to control the

 progress of a case so as to maintain the orderly processes of justice. Enelow v. New York Life Ins.

 of the evidence against Petitioner and his co-defendants:

          Having carefully reviewed the entire record, we find that the jury had ample evidence from which
          it could reasonably conclude that these Defendants were guilty beyond a reasonable doubt of the
          crimes with which they were charged. Because Defendants have not met the heavy burden
          necessary to disturb the verdicts against them, we reject their claims of insufficient evidence.

 Id. at 173.

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 Co., 293 U.S. 379, 382 (1935). The authority of the district court to manage its own docket

 includes the management of habeas proceedings pursuant to § 2255. Ryan v. Gonzalez, 568 U.S.

 57, 74 (2013) (confirming that the Anti-Terrorism and Effective Death Penalty Act does not

 deprive district courts of the authority to manage their own dockets). Because Petitioner’s § 2255

 Motion presented no cognizable grounds for relief, the Court had the authority to summarily

 dismiss the motion. See supra Part III.A. It naturally follows that the Court has the inherent

 authority to deny Petitioner’s § 2255 Motion without the submission of a reply brief. Therefore,

 Petitioner’s second Motion for Extension of Time to Reply is denied.

                                       IV. CONCLUSION

        Based on the foregoing, Petitioner’s Motion second Motion for Extension of Time to

 Reply (ECF No. 443) is DENIED. Petitioner’s § 2255 Motion (ECF No. 425) is also DENIED.

        This Court may issue a certificate of appealability only if the applicant has made a

 substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c); FED. R. APP. P.

 22(b)(1). This means that Petitioner must demonstrate that “reasonable jurists could debate

 whether . . . the petition should have been resolved in a different manner or that the issues

 presented were ‘adequate to deserve encouragement to proceed further.’” Slack v. McDaniel, 529

 U.S. 473, 484 (2000) (quoting Barefoot v. Estelle, 463 U.S. 880, 893, n.4 (1983)); see United

 States v. Swaby, 855 F.3d 233, 239 (4th Cir. 2017). Petitioner’s claims are based on incorrect

 interpretations of statutory provisions and judicial precedent. As such, Petitioner fails to

 demonstrate a substantial showing of a denial of a constitutional right, and a Certificate of

 Appealability is DENIED.

        In addition, the Court ADVISES Petitioner that he may appeal from this final Order by

 forwarding a written notice of appeal to the Clerk of the United States District Court, United



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 States Courthouse, 600 Granby Street, Norfolk, Virginia 23510. The Clerk must receive this

 written notice within sixty (60) days from this Order’s date. The Court DIRECTS the Clerk to

 provide a copy of this Order to all Parties.

        IT IS SO ORDERED.

 Newport News, Virginia
 May 1, 2020

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                                                       UNITED STATES DISTRICT JUDGE




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